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                                             EXHIBIT “C”

                                    PROPOSED ORDER




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 7

MERIDIAN AUTOMOTIVE SYSTEMS,                          Case No. 09-12806 (MFW)
INC. et al
                                                      Related Doc. No. _______
                                                1
                                     Debtors.

ORDER SUSTAINING FIRST OMNIBUS (SUBSTANTIVE) OBJECTION TO CERTAIN
CLAIMS PURSUANT TO SECTION 502 OF THE BANKRUPTCY CODE, RULES 3007
   AND 9014 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
                       BANKR. D. DEL. L.R. 3007-1

         Upon consideration of the First Omnibus (Substantive) Objection to Certain Claims

pursuant to Section 502 of the Bankruptcy Code, Rules 3007 and 9014 of the Federal Rules of

Bankruptcy Procedure and Bankr. D. Del L.R. 3007-1 (the “First Omnibus Objection”),2 filed by

George L. Miller, the Trustee (the “Trustee”) for the Estates of the above-captioned Debtors; and

the Declaration of the Matthew Tomlin, attached as Exhibit “B” to the First Omnibus Objection;

and it appearing that good and sufficient notice of the First Omnibus Objection has been given and

that no further notice of the First Omnibus Objection or entry of this order need be provided; and

upon the entire record herein; and the Bankruptcy Court having considered the First Omnibus

Objection, the Declaration, and the Disputed Claims; and after due deliberation and good and

sufficient cause appearing therefor;


1
  The Debtors in these chapter 7 cases, along with each of Debtors’ bankruptcy case number,
are: Meridian Automotive Systems, Inc. (09-12806); Meridian Automotive Systems – Angola
Operations, Inc. (09-12807); Meridian Automotive Systems – Composites Operations, Inc. (09-12808);
Meridian Automotive Systems – Construction, Inc. (09-12809); Meridian Automotive Systems – Detroit
Operations, Inc. (09-12810); Meridian Automotive Systems – Grand Rapids Operations, Inc. (09-12812);
Meridian Automotive Systems – Heavy Truck Operations, Inc. (09-12813); Meridian Automotive
Systems – Mexico Operations, LLC (09-12814); and, Meridian Automotive Systems – Shreveport
Operations, Inc. (09-12816).

2
 Unless expressly defined herein, capitalized terms shall have the meanings ascribed to them in the First
Omnibus Objection.


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                  IT IS HEREBY FOUND THAT:

         A.       Each holder of a Disputed Claim listed on Exhibit “A” of the First Omnibus

Objection (the “Claimants”) was provided proper and adequate notice of the First Omnibus

Objection pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1;

         B.       The First Omnibus Objection is a core proceeding under 28 U.S.C. § 157(b)(2);

         C.       Any entity known to have an interest in the Disputed Claims listed on Exhibit “A”

has been afforded reasonable opportunity to respond or to be heard regarding the relief requested in

the First Omnibus Objection;

         D.       Each of the Priority Reclassified Claims listed on Exhibit “A” of the First Omnibus

Objection are claims that were filed with an incorrect “priority” classification and/or amounts;

         E.       The relief requested in the First Omnibus Objection is in the best interest of the

Debtors’ estates, creditors, and other parties in interest; and it is therefore

                  ORDERED, ADJUDGED AND DECREED THAT

         1.       The First Omnibus Objection is GRANTED to the extent set forth herein.

         2.       Pursuant to Sections 105(a) and 502(b) of the Bankruptcy Code, each of the Priority

Reclassified Claims identified on Exhibit “A” hereto are hereby reclassified and/or modified to the

status and amount as identified in the “Modified Claim Amount and Priority Status” column on

Exhibit “A” hereto without prejudice to the Trustee’s right and ability to raise any further objection.

         3.       The Bankruptcy Court shall retain jurisdiction over the Debtors’ estates and the

Claimants whose claims are subject to the First Omnibus Objection with respect to any matters

related to or arising from the implementation of this Order.

         4.       Each of the Disputed Claims and the objection by the Trustee constitutes a separate

contested matter pursuant to Bankruptcy Rule 9014. This Order shall be deemed a separate Order



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with respect to each of the Disputed Claims. Any stay of this Order pending appeal by any of the

Claimants shall not act to stay the applicability and/or finality of this Order with respect to any other

contested matters covered hereby.

         5.       This Order is without prejudice to the Trustee’s right to amend, modify, or

supplement the First Omnibus Objection, or to file additional non-substantive or substantive

objections.

         6.       This Order does not affect any claims, rights, or remedies the Trustee has or may

have against the Claimants in respect of any amounts owed to the Debtors’ Estates by any Claimant

under Chapter 5 of the Bankruptcy Code, including without limitation the right to seek disallowance

of a Disputed Claim pursuant to Section 502(d) of the Bankruptcy Code.




                                                    3
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